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AO 91 (Rev 11/11) Cnmmal Complamt (approved by AUSASeth Schlessmger)                                   18-094



                                    UNITED STA TES DISTRICT COURT
                                                                 for the
                                                Eastern District of Pennsylvania

                United States of America                               )
                               V.                                      )
                                                                       )     Case No.
                          Jarret Lea                                   )
                                                                       )
                                                                       )
   - -- -                  -
                                                                       )
                         Defendant(s}


                                               CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of _              _5/2/17 - 8/29/18                _ in the county of _                 Bucks      in the
     Eastern          District of __ _Pennsylvania            _, the defendant(s) violated:

            Code Section                                                        Offense Description
 18 u.s.c. § 2252A(g}                         Engaging in Child Exploitation Enterprise.




         This cnminal complaint is based on these facts:
 See attached affidavit.




         ~ Continued on the attached sheet.




                                                                                     Christopher Jackson, Special Agent, FBI
                                                                              ----
                                                                                                  Printed name and title


Sworn to before me and signed in my presence.


Date:             08/31/2018


                                Philadelphia, Pennsylvania                        Hon. Thomas J. Rueter, U.S. Magistrate Judge
City and state:
                                                                                                  Printed name and title
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                                          AFFIDAVIT

       I, Christopher Jackson, being first duly sworn, hereby depose and state as follows:

       1.      I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI) and have

been so employed for over two (2) years. I am thus a "federal law enforcement officer," as defined

by the Federal Rules of Criminal Procedure. I am currently assigned to the Philadelphia Field

Office, in particular to a squad responsible for investigating crimes committed against children,

including but not limited to child pornography offenses, in violation of chapter 110 of Title 18, of

the United States Code. While employed by the FBI I have investigated federal criminal cases. I

have gained experience through numerous hours of training at the FBI Academy, and through

everyday work relating to conducting these types of investigations. I have participated in the

execution of numerous search warrants for documents and other evidence, including computers

and electronic media, in cases involving child pornography and the sexual exploitation of children.

       2.      This affidavit is being made in support of the issuance of the attached criminal

complaint charging Jarret LEA with engaging in a child exploitation enterprise, in violation of

Title 18, United States Code Section 2252A(g).

       3.      The statements in this Affidavit are based in part on my investigation of this matter

and on information provided by other law enforcement officers. Because this affidavit is being

submitted for the limited purpose of demonstrating probable cause in support of issuance of the

attached complaint, I have not included each and every fact known to me concerning this

investigation, but rather only those facts that I respectfully submit are necessary in order to

establish probable cause.




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                                 STATUTORY AUTHORITY

       4.      Title 18, L'nited States Code, Section 2252A(g) prohibits any person from engaging

in a child exploitation enterprise. In turn, Title 18, United States Code, Section 2252A(g)(2)

provides that a person engages in a child exploitation enterprise within the meaning of the section

if the person violates (among other portions of Title 18) Chapter 110 of the United States Code, as

part of a series of felony violations constituting three or more separate incidents and involving

more than one victim, and commits those offenses in concert with three or more other persons.

Chapter 110 of the United States Code prohibits, among other offenses, the production of child

pornography (18 U.S.C. § 225l(a)); the advertisement of child pornography (18 U.S.C. § 2251(d));

the distribution or receipt of child pornography (18 U.S.C. § 2252(a)(2)); and the possession of

child pornography (18 U.S.C. § 2252(a)(4)(B)). Each of the aforementioned violations is a felony

offense.

                                     PROBABLE CAUSE

       5.      On or about May 23, 2017, an FBI online covert employee (OCE) was investigating

the production of child pornography on the mobile app "live.me" 1 and browsed to a website called

"Sch.net." On Sch.net, the OCE observed a link to an URL permitting browser-based access to

Service A, a computer-based communication service described further below. Next to the link

was an image that depicted two females who appeared to be children wearing bikinis.

       6.      The OCE clicked on the above link and was re-directed to another URL to a website



1
 Live.me is a social media platform for sharing, creating and viewing live .streaming videos.
Live.me users can stream live video from mobile platforms like Apple iOS or Google Android.
Videos streamed from Live.me users can be viewed through the Live.me mobile applications or
an internet browser.


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operated by Service A-2. This particular website was entitled "Service A-1," and the title was

accompanied by a thumbnail image of two minor female children kissing each other.

       7.        Service A owns and operates a free-access all in one voice and text chat application

and website with the same name that can be accessed over the web. A user creates a Service A

account and can then communicate with other Service A users.

       8.        Service A users can exchange private messages between each other, participate in

chat discussions, and voice chat. Service A users can also create chat rooms, which functions as

message boards that can be accessed only by Service A users who have an invitation link. Service

A-1, mentioned above, is one such chat room on Service A. Within these chat rooms, users can

set up different sub-rooms wherein users can type written text, including links to files stored on

external file-storage sites, and also upload files under a particular size limit, which can be viewed

by all users of the sub-room. Service A users can share files larger than the limit allowed by

providing hyperlinks to file sharing websites.        Service A chat rooms can have one or more

moderators. Moderators have the ability to manage other users, including but not limited to

removing users from the chat rooms, elevating users hierarchically, and granting users additional

perm1ss1ons.    The moderators of a chat room can categorize users of the chat rooms into

hierarchical groups with customized labels and can configure those groups to give users in each

group different levels of access.

       9.       The OCE's review of the Service A-1 chat room revealed that the vast majority of

its content consisted of discussions about using web cameras and social-media applications to



2 Service A, Service A-1, and similar terms, as well as Usemame 1 and similar terms, are
pseudonyms used in this affidavit in lieu of the actual terms in order to protect the integrity of an
ongoing investigation.

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obtain sexually-explicit images and videos of minor children; images and videos of minor children

exposing their vaginas, which at times were uploaded to the Service A-1 chat room and its sub-

rooms; and links to download child pornography images and videos from external file-storage

sites. Most of the children viewed by the OCE appeared to be approximately between the ages of

11 and 17 years old. The Service A-1 page also included some discussion of adults engaging in

sexual activity via web camera. However, the majority of the activity focused on the depiction of

minors engaged in sexually explicit activity on web cameras. For example, in the course of a

discussion in the one sub-room of Service A-1 regarding the merits of utilizing virtual private

network (VPN) technology to mask users' IP address and identity, Username 1 commented on

April 15, 2017: "Just the fact that we're all hanging in here, which is a chatroom where underaged

sexual content is shared around is enough reason for one to get a VPN." Username 1 continued,

stating: "Fuck when you download something from dropfile Your ISP can see what you

downloaded What if govt authorities read ISPs logfiles."

       10.     Based on the OCE's undercover observations on Service A-1, a federal search

warrant was issued, on or about July 10, 2017, by the Honorable David R. Strawbridge, United

States Magistrate Judge, Eastern District of Pennsylvania, for content stored on Service A's servers

related to Service A-1. In response to the search warrant, Service A disclosed to law enforcement

officers IP address information for some users of Service A-1, the content of some text chats

occurring on Service A-1, and some private messages sent by users of Service A-1.

       11.     The Service A-1 chat room was ultimately shut down by Service A. Members of

the Service A-1 chat room proceeded to open additional similar chat rooms on Service A,

including: Service A-2, Service A-3, Service A-4, and Service A-5. The OCE gained access to

Service A-3, Service A-4, and Service A-5. The OCE observed each of these chat rooms contained

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many of the same users as Service A-1 and were operated for the purpose of discussing, obtaining,

and distributing child exploitation material including child pornography files. Service A-5 is the

only of the aforementioned Service A chat rooms that is still operating.

       12.     Based on the OCE's undercover observations on Service A-2, Service A-3, Service

A-4, and Service A-5, a second federal search warrant was issued, on or about November 17, 2017,

by the Honorable Linda K. Caracappa, Chief United States Magistrate Judge, Eastern District of

Pennsylvania, for content stored on Service A's servers related to the aforementioned chat rooms.

In response to the search warrant, Service A disclosed to law enforcement officers IP address

information for some users of those chat rooms, the content of certain text chats occurring in the

chat rooms, and some private messages sent by users of those chat rooms.

       13.     The OCE observed a user of Service A-1 using the online name "Usemame 11." A

review of the search warrant return from Service A and undercover recordings by the OCE

revealed, among other activity, the following activity, each involving a video that I have reviewed

and that, in my opinion, constitutes a depiction of a minor engaged in sexually explicit conduct as

defined by federal law:

               a.     On May 23, 2017, Usemame 11 posted on Service A-1:

               "over 2 hr's long. some flashes from 2 girls then I girl fingers herself and
               smells it after at around 44:30 lo/ then its boring after that
               http://file.live.ksmobile.net/yolo-[HYPERLINK                 PARTIALLY
               REDACTED]--20170523084627.m3u8."


       The OCE utilized the hyperlink to download a video file, which depicted two minor female

children who appeared to be under the age of 12. Both of the children exposed their breasts and

one of the minor females exposed her vagina and digitally penetrated her vagina.

               b.         On May 16, 2017, Usemame 11 posted on Service A-1:

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                "http:l/fi/e.live.ksmobile.netlyolo--[HYPERLT.NK PARTIALLY REDACTED] --

20170501050345.m3u8."         The OCE utilized the hyperlink to download a video file, which

depicted a minor female under the age of 12 exposing her vagina.

                c.       On May 16, 2017, Username 11 posted a link on Service A-1:

"http://file.live.ksmobile.net/lyolo-      IIYPERLT.NK           PARTIALLY             REDACTED]

20170515073240.m3u8." The OCE utilized the hyperlink to download a video file which depicted

a minor female under the age of 14 exposing her vagina.

                d.      On May 2, 2017, Username 11 posted an image on Service A-1.

"http:1/file.live.ksmobi/e.net/lyolo-    HYPERLINK           PARTIALLY          REDACTED]

20170430072555.m3u8." The OCE utilized the hyperlink to download a video file which depicted

a minor female under the age of 12 exposing her vagina to the camera.

        14.     Records from Service A show that Username 11 accessed Service A servers using

a particular IP address from March 20, 2017 to September 18, 2017. The FBI sent a subpoena to

Charter Communications who responded on July 26, 2017. Charter Communications' records

showed that the subscriber of the IP address at the relevant times was "Lea Lawanner" at 1900

Interface Lane, Apt. 204, Charlotte, NC 28262.

        15.     On August 29, 2018, a federal search warrant was executed at 1900 Interface Lane,

Apt. 204, Charlotte, NC 28262, LEA's residence. After law enforcement arrived on scene, LEA

fled down a third-story balcony and leapt to the ground, suffering injuries requiring hospitalization.

LEA 's brother, with whom LEA lived at the residence that was the subject of the search, was

present during the execution of the warrant. LEA's brother identified and distinguished between

digital devices inside the residence that belonged to him, and those that belonged to LEA. LEA's

brother explained that he and LEA each owned and used their own digital devices and did not use

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or access devices belonging to the other. LEA's brother further explained that the devices were

password-protected.

       16.     From LEA's bedroom, law enforcement officers seized a laptop computer, a

desktop computer and three cell phones belonging to LEA. Law enforcement officers conducted

an on-scene forensic examination of the devices seized from LEA's bedroom.            Preliminary

examination of an LG cell phone located on the floor next to LEA's bed revealed that the phone

had Service A installed as an application, it had been used to log into Service A as Username 11,

and usage of the email account rugerret@gmail.com. Data returned to law enforcement officers

by Service A pursuant to a search warrant showed that L' semame 11 registered for Service A using

the e-mail address rugerret@gmail.com. Moreover, on both the laptop and desktop computers

located in LEA' s bedroom, law enforcement officers located several videos depicting minor

children engaged in sexually explicit conduct.      In particular, the child pornography videos

appeared to be consistent with those distributed by members of the enterprise occurring across

Service A-1, Service A-2, Service A-3, Service A-4, and Service A-5, in that the videos appeared

to have been created by webcam or similar device, for the apparent purpose of originally being

broadcast through an online live video-streaming service.

       17.     LEA' s brother agreed to speak to law enforcement officers. LEA' s brother told

law enforcement officers'that he also used Service A, but only in connection with playing computer

games on his desktop computer. Law enforcement officers conducted a preliminary search of

LEA' s brother's cell phone and did not find the Service A application installed, or any child

pornography.




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                                              VENUE

        18.     The child exploitation enterprise in which LEA engaged, as described above,

extended at all relevant times to the Eastern District of Pennsylvania. The enterprise was open to

members from anywhere in the world, and the child pornography material disseminated by the

enterprise was made available to any person able to access Service A, including from the Eastern

District of Pennsylvania. Further, the OCE's activities over the various Service A chat rooms

comprising the enterprise were conducted in the Eastern District of Pennsylvania. Finally, the

investigation has revealed the participation of at least one member of the enterprise who lived in

the Eastern District of Pennsylvania and participated in the enterprise from the Eastern District of

Pennsylvania, from as early as July 2016 until that member's arrest by federal authorities in

February 2018.

                                          CONCLUSION

        19.     Based upon the information above, I respectfully submit that there is_probable cause

to believe that Jarret LEA engaged in a child exploitation enterprise, in violation of Title 18, United

States Code Section 2252A(g), in that LEA violated Chapter 110 of Title 18 of the United States

Code as part of a series of felony violations involving three or more separate incidents and more

than one victim, and has committed those offenses with three or more other persons. I therefore




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further respectfully request that the Court issue the attached complaint and warrant charging LEA

with that offense.




                                            Cbris:f!::=fk=
                                            Special Agent, Federal Bureau of Investigation


SWORN TO AND SUBSCRIBED
BEFORE ME THIS 3 l DAY
OF AUGUST, 2018.




H~=J~
CNITED STATES MAGISTRATE JUDGE




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